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                         Exhibit B

                    Proposed Final Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )    Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. __

                       FINAL ORDER (I) APPROVING
           NOTIFICATION AND HEARING PROCEDURES FOR CERTAIN
       TRANSFERS OF COMMON STOCK AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this “Final Order”): (a) approving the

Procedures related to transfers of Beneficial Ownership of Common Stock; (b) directing that any

purchase, sale, other transfer of Beneficial Ownership of Common Stock in violation of the

Procedures shall be null and void ab initio, and (c) granting related relief, all as more fully set forth

in the Motion; and upon the First Day Declarations; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from

the United States District Court for the District of Delaware, dated February 29, 2012; and this

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

having found that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate and that no other notice need be

provided; and this Court having reviewed the Motion; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The Procedures, as set forth in Exhibit 1 attached hereto are hereby approved.

       3.      Any transfer of Beneficial Ownership of Common Stock in violation of the

Procedures, including but not limited to the notice requirements, shall be null and void ab initio.

To the extent the Procedures were inapplicable to any person as a result of paragraph 4 of the

Interim Order, any period of time to comply with the Procedures that was based on the receipt of

notice of, or entry of, the Interim Order, shall instead be based on the receipt of notice of, or entry

of, this Final Order.

       4.      In the case of any such transfer of Beneficial Ownership of Common Stock in

violation of the Procedures, including but not limited to the notice requirements, the person or

entity making such transfer shall be required to take remedial actions specified by the Debtors,

which may include the actions specified in Private Letter Ruling 201010009 (Dec. 4, 2009), to

appropriately reflect that such transfer is null and void ab initio.

       5.      The Debtors may prospectively or retroactively waive any and all restrictions, stays,

and notification procedures set forth in the Procedures.




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       6.      To the extent that this Final Order is inconsistent with any prior order or pleading

with respect to the Motion in these chapter 11 cases, the terms of this Final Order shall govern.

       7.      Nothing herein shall preclude any person desirous of acquiring Common Stock

from requesting relief from this Final Order from this Court, subject to the Debtors’ and the other

Declaration Notice Parties’ rights to oppose such relief.

       8.      The requirements set forth in this Final Order are in addition to the requirements of

applicable law and do not excuse compliance therewith.

       9.      Nothing contained in the Motion or this Final Order, and no action taken pursuant

to the relief requested or granted (including any payment made in accordance with this Final

Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount,

validity or priority of, or basis for any claim against the Debtors under the Bankruptcy Code or

other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission or finding that any particular claim is an administrative expense

claim, other priority claim or otherwise of a type specified or defined in the Motion or this Final

Order; (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes of action or other rights

of the Debtors or any other party in interest against any person or entity under the Bankruptcy

Code or any other applicable law.

       10.     Other than to the extent that this Final Order expressly conditions or restricts trading

in Common Stock, nothing in this Final Order or in the Motion shall, or shall be deemed to,




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prejudice, impair, or otherwise alter or affect the rights of any holders of Common Stock, including

in connection with the treatment of any such stock under any chapter 11 plan or any applicable

bankruptcy court order.

       11.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       12.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

       13.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Final Order.




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                           Exhibit 1

Procedures for Transfers of Beneficial Ownership of Common Stock
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                   PROCEDURES FOR TRANSFERS OF COMMON STOCK


The following procedures apply to transfers of Common Stock:1

        a.        Any entity (as defined in section 101(15) of the Bankruptcy Code) that is a
                  Substantial Shareholder (as defined herein) must file with the Court, and
                  serve upon: (i) the Debtors, Yellow Corporation, 200 W. 110th Street,
                  Overland Park, Kansas 66211, Attn.: General Counsel; (ii) proposed
                  co-counsel to the Debtors, Kirkland & Ellis LLP, 300 North LaSalle,
                  Chicago,      Illinois,     60654,     Attn.:      Patrick    J.      Nash
                  (patrick.nash@kirkland.com),                 David                Seligman
                  (david.seligman@kirkland.com),         and        Whitney        Fogelberg
                  (whitney.fogelberg@kirkland.com), and Kirkland & Ellis LLP, 601
                  Lexington Avenue, New York, New York 10022, Attn.: Allyson B. Smith
                  (allyson.smith@kirkland.com); (iii) proposed co-counsel to the Debtors,
                  Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO
                  Box 8705, Wilmington, Delaware 19801, Attn: Laura Davis Jones
                  (ljones@pszjlaw.com) and Timothy P. Cairns (tcairns@pszjlaw.com);
                  (iv) counsel to any statutory committee appointed in these chapter 11 cases;
                  (v) the U.S. Trustee for the District of Delaware, 844 King Street, Suite
                  2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Jane Leamy
                  (jane.m.leamy@usdoj.gov); and (vi) any party that has requested notice
                  pursuant to Bankruptcy Rule 2002 or Local Counsel Rule 2002-(b),
                  (collectively, the “Declaration Notice Parties”), a declaration of such status,
                  substantially in the form attached to the Procedures as Exhibit 1A
                  (each, a “Declaration of Status as a Substantial Shareholder”), on or before
                  the later of (A) twenty calendar days after the date of the Notice of Interim
                  Order, or (B) ten calendar days after becoming a Substantial Shareholder;
                  provided that, for the avoidance of doubt, the other procedures set forth
                  herein shall apply to any Substantial Shareholder even if no Declaration of
                  Status as a Substantial Shareholder has been filed.2

        b.        Prior to effectuating any transfer of Beneficial Ownership of Common
                  Stock that would result in an increase in the amount of Common Stock of
                  which a Substantial Shareholder has Beneficial Ownership or would result
                  in an entity or individual becoming a Substantial Shareholder, the parties to
                  such transaction must file with the Court, and serve upon the Declaration
                  Notice Parties, an advance written declaration of the intended transfer of


1   Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion.

2   Notwithstanding anything to the contrary in these procedures and notwithstanding that the U.S. Department of
    the Treasury is a Substantial Shareholder, the U.S. Department of the Treasury is excluded from the requirements
    in this paragraph (a) and shall not be required to file, or to serve upon any person or entity, a Declaration of Status
    as a Substantial Shareholder.
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      Common Stock, substantially in the form attached to the Procedures as
      Exhibit 1B (a “Declaration of Intent to Accumulate Common Stock”).

c.    Prior to effectuating any transfer of Beneficial Ownership of Common
      Stock that would result in a decrease in the amount of Common Stock of
      which a Substantial Shareholder has Beneficial Ownership or would result
      in an entity or individual ceasing to be a Substantial Shareholder, the parties
      to such transaction must file with the Court, and serve upon the Declaration
      Notice Parties, an advance written declaration of the intended transfer of
      Common Stock, substantially in the form attached to the Procedures as
      Exhibit 1C (a “Declaration of Intent to Transfer Common Stock,” and
      together with a Declaration of Intent to Accumulate Common Stock, each,
      a “Declaration of Proposed Transfer”).

d.    The Debtors and the other Declaration Notice Parties shall have
      twenty calendar days after receipt of a Declaration of Proposed Transfer to
      file with the Court and serve on such Substantial Shareholder or potential
      Substantial Shareholder an objection to any proposed transfer of Beneficial
      Ownership of Common Stock, as applicable, described in the Declaration
      of Proposed Transfer on the grounds that such transfer might adversely
      affect the Debtors’ ability to utilize their Tax Attributes. If the Debtors or
      any of the other Declaration Notice Parties file an objection, such
      transaction will remain ineffective unless such objection is withdrawn, or
      such transaction is approved by a final and non-appealable order of the
      Court. If the Debtors and the other Declaration Notice Parties do not object
      within such twenty-day period, (a) the Debtors must provide written notice
      to (i) Milbank LLP, 55 Hudson Yards, New York, New York 10001, Attn.:
      Dennis F. Dunne (DDunne@milbank.com) and Matthew L. Brod
      (MBrod@milbank.com) (as counsel to the administrative agent to the
      Prepetition B-2 Lenders), (ii) Arnold & Porter Kaye Scholer LLP, 70 West
      Madison Street, Suite 4200, Chicago, Illinois 60602, Attn: Michael
      Messersmith (Michael.Messersmith@arnoldporter.com), Arnold & Porter
      Kaye Scholer LLP, 250 West 55th Street, New York, New York 10019,
      Attn.: Benjamin Mintz (Benjamin.Mintz@arnoldporter.com), and Arnold
      & Porter Kaye Scholer LLP, 601 Massachusetts Ave., N.W., Washington,
      DC 20001, Attn.: Rosa Evergreen (Rosa.Evergreen@arnoldporter.com) (as
      counsel to the United States Department of Treasury), (iii) the U.S. Trustee
      for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,
      Wilmington,        Delaware         19801,       Attn.:      Jane      Leamy
      (jane.m.leamy@usdoj.gov), (iv) White & Case LLP, 1221 Avenue of the
      Americas, New York, New York 10020-1095, Attn: Scott Greissman
      (sgreissman@whitecase.com), Elizabeth Feld (efeld@whitecase.com), and
      Andrew Zatz (azatz@whitecase.com) (as counsel to Beal Bank USA), and
      (v) Choate, Hall & Stewart LLP, Two International Place, Boston, MA
      02110, Attn.: Hampton, Foushee (hfoushee@choate.com) (as counsel to
      Citizens Bank, N.A.); and (b) such transaction can proceed solely as set
      forth in the Declaration of Proposed Transfer. Further transactions within


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              the scope of this paragraph must be the subject of additional notices in
              accordance with the procedures set forth herein, with an additional
              twenty-day waiting period for each Declaration of Proposed Transfer. To
              the extent that the Debtors receive an appropriate Declaration of Proposed
              Transfer and determine in their business judgment not to object, they shall
              provide notice of that decision as soon as is reasonably practicable to any
              statutory committee(s) appointed in these chapter 11 cases.

       e.     For purposes of these Procedures: (i) a “Substantial Shareholder” is any
              entity or individual person that has Beneficial Ownership of at least:
              2,345,847 shares of Common Stock (representing approximately 4.5
              percent of all issued and outstanding shares of Common Stock); and
              (ii) “Beneficial Ownership” will be determined in accordance with the
              applicable rules of section 382 of the IRC, and the Treasury Regulations
              promulgated thereunder (other than Treasury Regulations section
              1.382-2T(h)(2)(i)(A)) and includes direct, indirect, and constructive
              ownership (e.g., (1) a holding company would be considered to beneficially
              own all equity securities owned by its subsidiaries, (2) a partner in a
              partnership would be considered to beneficially own its proportionate share
              of any equity securities owned by such partnership, (3) an individual and
              such individual’s family members may be treated as one individual,
              (4) persons and entities acting in concert to make a coordinated acquisition
              of equity securities may be treated as a single entity, and (5) a holder would
              be considered to beneficially own equity securities that such holder has an
              Option (as defined herein) to acquire). An “Option” to acquire stock
              includes     all    interests   described     in     Treasury      Regulations
              section 1.382-4(d)(9), including any contingent purchase right, warrant,
              convertible debt, put, call, stock subject to risk of forfeiture, contract to
              acquire stock, or similar interest, regardless of whether it is contingent or
              otherwise not currently exercisable.

                                   NOTICE PROCEDURES

The following notice procedures apply to these Procedures:

       f.     No later than two business days following entry of the Final Order, the
              Debtors shall serve a notice by first class mail, substantially in the form
              attached to the Procedures as Exhibit 1D (the “Notice of Final Order”), on
              (i) the U.S. Trustee for the District of Delaware; (ii) the entities listed on the
              consolidated list of creditors holding the 30 largest unsecured claims;
              (iii) the U.S. Securities and Exchange Commission; (iv) the Internal
              Revenue Service; (v) counsel to any official committee appointed in these
              chapter 11 cases; (vi) all registered and nominee holders of Common Stock;
              and (vii) any party that has requested notice pursuant to Bankruptcy Rule
              2002 or Local Rule 2002-1(b). Additionally, no later than two business
              days following entry of the Final Order, the Debtors shall serve a Notice of



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      Final Order to reflect that a Final Order has been entered on the same
      entities that received the Notice of Interim Order.

g.    All registered and nominee holders of Common Stock shall be required to
      serve the Notice of Final Order, as applicable, on any holder for whose
      benefit such registered or nominee holder holds such Common Stock, down
      the chain of ownership for all such holders of Common Stock.

h.    Any entity or individual, or broker or agent acting on such entity’s or
      individual’s behalf who sells Common Stock to another entity or individual,
      shall be required to serve a copy of the Notice of Final Order, as applicable,
      on such purchaser of such Common Stock, or any broker or agent acting on
      such purchaser’s behalf.

i.    To the extent confidential information is required in any declaration
      described in the Procedures, such confidential information may be filed and
      served in redacted form; provided, however, that any such declarations
      served on the Debtors shall not be in redacted form. The Debtors shall keep
      all information provided in such declarations strictly confidential and shall
      not disclose the contents thereof to any person except: (i) to the extent
      necessary to respond to a petition or objection filed with the Court;
      (ii) to the extent otherwise required by law; or (iii) to the extent that the
      information contained therein is already public; provided, however, that the
      Debtors may disclose the contents thereof to their professional advisors,
      who shall keep all such notices strictly confidential and shall not disclose
      the contents thereof to any other person, subject to further Court order. To
      the extent confidential information is necessary to respond to an objection
      filed with the Court, such confidential information shall be filed under seal
      or in a redacted form.




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                         Exhibit 1A

      Declaration of Status as a Substantial Shareholder
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                          )
    In re:                                                                )     Chapter 11
                                                                          )
    YELLOW CORPORATION, et al.,1                                          )     Case No. 23-11069 (___)
                                                                          )
                               Debtors.                                   )     (Joint Administration Requested)
                                                                          )

              DECLARATION OF STATUS AS A SUBSTANTIAL SHAREHOLDER2

             PLEASE        TAKE        NOTICE           that    the     undersigned        party     is/has     become        a

Substantial Shareholder with respect to the existing classes (or series) of common stock or any

Beneficial Ownership therein (any such record or Beneficial Ownership of common stock,

collectively, the “Common Stock”) of Yellow Corporation (“Yellow”). Yellow is a debtor and

debtor in possession in Case No. 23-11069 (___) pending in the United States Bankruptcy Court

for the District of Delaware (the “Court”).

             PLEASE TAKE FURTHER NOTICE that, as of __________ __, 2023, the undersigned

party currently has Beneficial Ownership of _________ shares of Common Stock. The following


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 2,345,847 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); and (ii) “Beneficial Ownership” will be determined in accordance
      with the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations
      section 1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding
      company would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in
      a partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations
      section 1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject
      to risk of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise
      not currently exercisable.
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table sets forth the date(s) on which the undersigned party acquired Beneficial Ownership of such

Common Stock:

      Number of Shares                    Date Acquired                     Debtor Entity




                          (Attach additional page or pages if necessary)

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are ________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of Common Stock and

(II) Granting Related Relief [Docket No. ___] (the “Final Order”), this declaration

(this “Declaration”) is being filed with the Court and served upon the Declaration Notice Parties

(as defined in the Final Order).

       PLEASE TAKE FURTHER NOTICE that, at the election of the Substantial

Shareholder, the Declaration to be filed with this Court (but not the Declaration that is served upon

the Declaration Notice Parties) may be redacted to exclude the Substantial Shareholder’s taxpayer

identification number and the amount of Common Stock that the Substantial Shareholder

beneficially owns.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this


                                                  2
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Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.



                                                      Respectfully submitted,

                                                      (Name of Substantial Shareholder)

                                                      By:
                                                      ________________________________
                                                      Name: _____________________________
                                                      Address: ___________________________
                                                      ___________________________________
                                                      Telephone: _________________________
                                                      Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________
       (City)      (State)




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                        Exhibit 1B

     Declaration of Intent to Accumulate Common Stock
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                        )
    In re:                                                              )     Chapter 11
                                                                        )
    YELLOW CORPORATION, et al.,1                                        )     Case No. 23-11069 (___)
                                                                        )
                               Debtors.                                 )     (Joint Administration Requested)
                                                                        )

              DECLARATION OF INTENT TO ACCUMULATE COMMON STOCK2

             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to purchase, acquire, or otherwise accumulate (the “Proposed Transfer”) one or more

shares of the existing classes (or series) of common stock or any Beneficial Ownership therein

(any such record or Beneficial Ownership of common stock, collectively, the “Common Stock”)

or any Beneficial Ownership therein of Yellow Corporation (“Yellow”). Yellow is a debtor and

debtor in possession in Case No. 23-11069 (___) pending in the United States Bankruptcy Court

for the District of Delaware (the “Court”).




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     For purposes of this Declaration: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 2,345,847 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); and (ii) “Beneficial Ownership” will be determined in accordance
      with the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations section
      1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding company
      would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in a
      partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations section
      1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject to risk
      of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise not
      currently exercisable.
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       PLEASE TAKE FURTHER NOTICE that, if applicable, on ___________ __, 2023, the

undersigned party filed a Declaration of Status as a Substantial Shareholder with the Court and

served copies thereof as set forth therein.

       PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Transfer, the

undersigned party proposes to purchase, acquire, or otherwise accumulate Beneficial Ownership

of _________ shares of Common Stock or an Option with respect to _________ shares of Common

Stock. If the Proposed Transfer is permitted to occur, the undersigned party will have Beneficial

Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are ___________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of Common Stock, and

(II) Granting Related Relief [Docket No. ___] (the “Final Order”), this declaration

(this “Declaration”) is being filed with the Court and served upon the Declaration Notice Parties

(as defined in the Final Order).

       PLEASE TAKE FURTHER NOTICE that, at the election of the undersigned party, the

Declaration to be filed with this Court (but not the Declaration that is served upon the Declaration

Notice Parties) may be redacted to exclude the undersigned party’s taxpayer identification number

and the amount of Common Stock that the undersigned party beneficially owns.




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       PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, the undersigned

party acknowledges that it is prohibited from consummating the Proposed Transfer unless and

until the undersigned party complies with the Procedures set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Debtors and the other Declaration Notice

Parties have twenty calendar days after receipt of this Declaration to object to the Proposed

Transfer described herein. If the Debtors or any of the other Declaration Notice Parties file an

objection, such Proposed Transfer will remain ineffective unless such objection is withdrawn or

such transaction is approved by a final and non-appealable order of the Court. If the Debtors and

the other Declaration Notice Parties do not object within such twenty-day period, then after

expiration of such period the Proposed Transfer may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further transactions contemplated by the

undersigned party that may result in the undersigned party purchasing, acquiring, or otherwise

accumulating Beneficial Ownership of additional shares of Common Stock will each require an

additional notice filed with the Court to be served in the same manner as this Declaration.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.




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                                               Respectfully submitted,

                                               (Name of Declarant)

                                               By:
                                               ________________________________
                                               Name: _____________________________
                                               Address: ___________________________
                                               ___________________________________
                                               Telephone: _________________________
                                               Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________
       (City)      (State)




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                        Exhibit 1C

       Declaration of Intent to Transfer Common Stock
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                        )
    In re:                                                              )     Chapter 11
                                                                        )
    YELLOW CORPORATION, et al.,1                                        )     Case No. 23-11069 (___)
                                                                        )
                               Debtors.                                 )     (Joint Administration Requested)
                                                                        )

                DECLARATION OF INTENT TO TRANSFER COMMON STOCK2

             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to sell, trade, or otherwise transfer (the “Proposed Transfer”) one or more shares of the

existing classes (or series) of common stock or any Beneficial Ownership therein (any such record

or Beneficial Ownership of common stock, collectively, the “Common Stock”) of Yellow

Corporation (“Yellow”). Yellow is a debtor and debtor in possession in Case No. 23-11069 (___)

pending in the United States Bankruptcy Court for the District of Delaware (the “Court”).




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 2,345,847 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); and (ii) “Beneficial Ownership” will be determined in accordance
      with the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations section
      1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding company
      would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in a
      partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations section
      1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject to risk
      of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise not
      currently exercisable.
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       PLEASE TAKE FURTHER NOTICE that, if applicable, on __________ __, 2023, the

undersigned party filed a Declaration of Status as a Substantial Shareholder with the Court and

served copies thereof as set forth therein.

       PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Transfer, the

undersigned party proposes to sell, trade, or otherwise transfer Beneficial Ownership of

_________ shares of Common Stock or an Option with respect to _________ shares of Common

Stock. If the Proposed Transfer is permitted to occur, the undersigned party will have Beneficial

Ownership of_________ shares of Common Stock after such transfer becomes effective.

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are _________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of Common Stock and

(II) Granting Related Relief [Docket No. ___] (the “Final Order”), this declaration

(this “Declaration”) is being filed with the Court and served upon the Declaration Notice Parties

(as defined in the Final Order).

       PLEASE TAKE FURTHER NOTICE that, at the election of the undersigned party, the

Declaration to be filed with this Court (but not the Declaration that is served upon the Declaration

Notice Parties) may be redacted to exclude the undersigned party’s taxpayer identification number

and the amount of Common Stock that the undersigned party beneficially owns.




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       PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, the undersigned

party acknowledges that it is prohibited from consummating the Proposed Transfer unless and

until the undersigned party complies with the Procedures set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Debtors and the other Declaration Notice

Parties have twenty calendar days after receipt of this Declaration to object to the Proposed

Transfer described herein. If the Debtors or any of the other Declaration Notice Parties file an

objection, such Proposed Transfer will remain ineffective unless such objection is withdrawn or

such transaction is approved by a final and non-appealable order of the Court. If the Debtors and

the other Declaration Notice Parties do not object within such twenty-day period, then after

expiration of such period the Proposed Transfer may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further transactions contemplated by the

undersigned party that may result in the undersigned party selling, trading, or otherwise

transferring Beneficial Ownership of additional shares of Common Stock will each require an

additional notice filed with the Court to be served in the same manner as this Declaration.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.




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                                               Respectfully submitted,

                                               (Name of Declarant)

                                               By:
                                               ________________________________
                                               Name: _____________________________
                                               Address: ___________________________
                                               ___________________________________
                                               Telephone: _________________________
                                               Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________
       (City)      (State)




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                         Exhibit 1D

                    Notice of Final Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )     Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )     (Joint Administration Requested)
                                                                    )

                   NOTICE OF FINAL ORDER (I) APPROVING
           NOTIFICATION AND HEARING PROCEDURES FOR CERTAIN
       TRANSFERS OF COMMON STOCK AND (II) GRANTING RELATED RELIEF

TO: ALL ENTITIES (AS DEFINED BY SECTION 101(15) OF THE BANKRUPTCY
CODE) THAT MAY HOLD BENEFICIAL OWNERSHIP OF THE EXISTING CLASSES
(OR SERIES) OF COMMON STOCK (THE “COMMON STOCK”) OF YELLOW
CORPORATION:

             PLEASE TAKE NOTICE that on August 6, 2023 (the “Petition Date”), the

above-captioned debtors and debtors in possession (collectively, the “Debtors”), filed petitions

with the United States Bankruptcy Court for the District of Delaware (the “Court”) under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). Subject to certain

exceptions, section 362 of the Bankruptcy Code operates as a stay of any act to obtain possession

of property of or from the Debtors’ estates or to exercise control over property of or from the

Debtors’ estates.

             PLEASE TAKE FURTHER NOTICE that on the Petition Date, the Debtors filed the

Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Notification and Hearing

Procedures for Certain Transfers of Common Stock and (II) Granting Related Relief

[Docket No. __] (the “Motion”).


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
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        PLEASE TAKE FURTHER NOTICE that on [______], 2023, the Court entered the

Final Order (I) Approving Notification and Hearing Procedures for Certain Transfers of Common

Stock and (II) Granting Related Relief [Docket No. __] (the “Final Order”) approving procedures

for certain transfers of Common Stock set forth in Exhibit 1 attached to the Final Order [Docket

No. __] (the “Procedures”).2

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, a Substantial

Shareholder may not consummate any purchase, sale, or other transfer of Common Stock, in

violation of the Procedures, and any such transaction in violation of the Procedures shall be null

and void ab initio.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, the Procedures

shall apply to the holding and transfers of Common Stock or any Beneficial Ownership therein by

a Substantial Shareholder or someone who may become a Substantial Shareholder.




2   Capitalized terms used but not otherwise defined herein have the meanings given to them in the Final Order or
    the Motion, as applicable.

    All registered and nominee holders of Common Stock shall be required to serve the Notice of Final Order, as
    applicable, on any holder for whose benefit such registered or nominee holder holds such Common Stock, down
    the chain of ownership for all such holders of Common Stock. Any entity or individual, or broker or agent acting
    on such entity’s or individual’s behalf who sells Common Stock to another entity or individual, shall be required
    to serve a copy of the Notice of Final Order, as applicable, on such purchaser of such Common Stock, or any
    broker or agent acting on such purchaser’s behalf.

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          PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, upon the request

of any entity, the proposed notice, claims, and solicitation agent for the Debtors, Epiq Corporate

Restructuring, LLC will provide a copy of the Final Order and a form of each of the declarations

required to be filed by the Procedures in a reasonable period of time. Such declarations are also

available via PACER on the Court’s website at https://ecf.deb.uscourts.gov/ for a fee, or free of

charge        by      accessing        the       Debtors’        restructuring       website        at

https://dm.epiq11.com/YellowCorporation.

          PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, failure to follow

the procedures set forth in the Final Order shall constitute a violation of, among other things, the

automatic stay provisions of section 362 of the Bankruptcy Code.

          PLEASE TAKE FURTHER NOTICE that nothing in the Final Order shall preclude any

person desirous of acquiring any Common Stock from requesting relief from the Final Order from

this Court, subject to the Debtors’ and the other Declaration Notice Parties’ rights to oppose such

relief.

          PLEASE TAKE FURTHER NOTICE that other than to the extent that the Final Order

expressly conditions or restricts trading in Common Stock, nothing in the Final Order or in the

Motion shall, or shall be deemed to, prejudice, impair, or otherwise alter or affect the rights of any

holders of Common Stock, including in connection with the treatment of any such stock under any

chapter 11 plan or any applicable bankruptcy court order.

          PLEASE TAKE FURTHER NOTICE that any prohibited purchase, sale, other transfer

of Common Stock, or option with respect thereto in violation of the Final Order is prohibited and

shall be null and void ab initio and may be subject to additional sanctions as this court may

determine.

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       PLEASE TAKE FURTHER NOTICE that the requirements set forth in the Final Order

are in addition to the requirements of applicable law and do not excuse compliance therewith.




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Dated: [●], 2023
Wilmington, Delaware

/s/ DRAFT
Laura Davis Jones (DE Bar No. 2436)       Patrick J. Nash Jr., P.C. (pro hac vice pending)
Timothy P. Cairns (DE Bar No. 4228)       David Seligman, P.C. (pro hac vice pending)
Peter J. Keane (DE Bar No. 5503)          Whitney Fogelberg (pro hac vice pending)
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                                          Allyson B. Smith (pro hac vice pending)
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                                          Proposed Co-Counsel for the Debtors and Debtors in
                                          Possession




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